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5

6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-1
                        Plaintiff,
9
                                               PRELIMINARY ORDER OF
                  v.                           FORFEITURE
10

11    LUYEN DOAN (1),

12                      Defendant.
13

14
          Pursuant to Federal Rule of Criminal Procedure 32.2(b), IT IS HEREBY
15
     ORDERED: Defendant shall forfeit the assets, as outlined below, to the
16
     United States pursuant to 21 U.S.C. § 853, as property constituting or
17
     derived from proceeds obtained, directly or indirectly, as a result of
18
     the violations to which Defendant pled guilty, and as property used, or
19

20   intended to be used, in any manner or part, to commit, or to facilitate

21   the commission of those violations, including:

22        REAL PROPERTY

23               3525 North Division Street, Spokane, Washington,
24

25

26


     ORDER ~ 1
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1
                 Lots 1, 2 and 3 and the North 4 feet of Lot 4 in Block 4 of
2
                 Monterey Park, as per Plat thereof recorded in Volume “E” of
3
                 Plats, Page 22;
4
                 Except Portion conveyed to State of Washington for State Route
5

6                2, as described in Warranty Deed recorded under Auditor’s File

7                No.   9407180016;

8                Situated in the City of Spokane, County of Spokane, State of

9                Washington.
10               Together with all appurtenances, fixtures, attachments thereto
11               and thereupon.
12               Subject to covenants, conditions, restrictions, reservations,
13
                 easements and agreements of record, if any.
14
                 331   Southshore    Diamond     Lake    Road,    Newport/Diamond        Lake,
15

16               Washington:

17               Lot 16 of Tarbet’s Beach, according to the recorded Plat
18               thereof; Section 1, Township 30 North, Range 44 E.W.M., Pend
19               Oreille County, Washington.
20               Together with all appurtenances, fixtures, attachments thereto
21
                 and thereupon.
22
                 Subject to covenants, conditions, restrictions, reservations,
23
                 easements and agreements of record, if any.
24
                 Tax Parcel No. 443001-63-9015.
25

26


     ORDER ~ 2
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1                Parcel Number 48N04W084800, Vacant Land in Kootenai County,
2                Idaho:
3                NW-SE lying N of Road, Section 08, Township 48N, Range 04W.
4                Together with all appurtenances, fixtures, attachments thereto
5
                 and thereupon.
6
                 Subject to covenants, conditions, restrictions, reservations,
7
                 easements and agreements of record, if any.
8
                 Parcel   Number   46292.9077,      Vacant     Land   in   Spokane   County,
9

10               Washington:
11               That part of the Southwest Quarter of the Northwest Quarter of
12               Section 29, Township 26 North, Range44 East, W.M., described
13
                 as follows:
14
                 Beginning at the Northwest corner of said Southwest Quarter of
15
                 the Northwest Quarter of Section 29; Thence North 89E57 East,
16
                 along the North line of said Southwest Quarter of the Northwest
17
                 Quarter of Section 29, 995.8 feet; Thence South 3E06' East,
18
                 512.6 feet; Thence South 89E51' West, 1020.8 feet, more or
19
                 less, to the West line of said Section 29; Thence North 0E20'
20

21               West, along the West line of said Section 29, 513.6 feet to the

22               Point of Beginning.

23               EXCEPT Right of Way for Bruce Road;

24               AND EXCEPT for the following described parcel:

25               Beginning at the Northwest corner of said Southwest Quarter of
26               the Northwest Quarter of Section 29; Thence North 89E57' East,


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1                along the North line of said Southwest Quarter of the Northwest
2                Quarter of said Section 29, 995.8 feet; Thence South 3E06'
3                East, 256.3 feet to the True Point of Beginning; Thence South
4                3E06' East, 256.3 feet; Thence South 89E51' West, 1,020.8 feet,
5
                 more or less to the West line of said Section 29; Thence North
6
                 0E20' West, along the West line of said Section 29 to Point of
7
                 Intersection of said West line with the East boundary line of
8
                 Bruce Road; Thence generally Northeasterly measured along the
9
                 East boundary line of said Bruce Road, a distance of 30 feet
10
                 to a point; Thence on a line drawn at a 45E angle from the West
11
                 line of said Section 29 and running through the above-described
12

13               point on the East boundary of Bruce Road, Southeasterly to a

14               point where said line intersects with a straight line drawn

15               Westerly from the True Point of Beginning of this description;

16               Thence Easterly along said straight line to the True Point of
17               Beginning.
18               Situated in the County of Spokane, State of Washington.
19               Together with all appurtenances, fixtures, attachments thereto
20
                 and thereupon.
21
                 Subject to covenants, conditions, restrictions, reservations,
22
                 easements and agreements of record, if any.
23
                 Parcel Number 1507401, Vacant Land, described as E2 NW4 NW4,
24

25               in Stevens County, Washington
26


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1
                 E1/2 NW1/4 NW1/4 Section 4, Township 28 North, Range 36 East,
2
                 W.M., Stevens County, Washington.
3
                 Together with all appurtenances, fixtures, attachments thereto
4
                 and thereupon.
5

6                Subject to covenants, conditions, restrictions, reservations,

7                easements and agreements of record, if any.

8
                 Parcel Number 1507425, Vacant Land, described as W2 NW4 NW4,
9
                 in Stevens County, Washington
10
                 W1/2 NW1/4 NW1/4 Section 4, Township 28 North, Range 36 East,
11
                 W.M., Stevens County, Washington.
12
                 Together with all appurtenances, fixtures, attachments thereto
13

14               and thereupon.

15               Subject to covenants, conditions, restrictions, reservations,

16               easements and agreements of record, if any.

17
                 Parcel Number 1507450, Vacant Land, described as W2 SW4 NW4,
18
                 in Stevens County, Washington
19
                 W1/2 SW1/4 NW1/4 Section 4, Township 28 North, Range 36 East,
20
                 W.M., Stevens County, Washington.
21

22               Together with all appurtenances, fixtures, attachments thereto

23               and thereupon.

24               Subject to covenants, conditions, restrictions, reservations,

25               easements and agreements of record, if any.

26


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1
                 Parcel Number 1507475, Vacant Land, described as E2 SW4 NW4,
2
                 in Stevens County, Washington
3
                 E1/2 SW1/4 NW1/4 Section 4, Township 28 North, Range 36 East,
4
                 W.M., Stevens County, Washington.
5

6                Together with all appurtenances, fixtures, attachments thereto

7                and thereupon.

8                Subject to covenants, conditions, restrictions, reservations,

9                easements and agreements of record, if any.
10
                 Parcel Number 1507501, Vacant Land, described as E2 NE4 NE4,
11
                 in Stevens County, Washington
12

13               E1/2 NE1/4 NE1/4 Section 5, Township 28 North, Range 36 East,
14
                 W.M., Stevens County, Washington.
15
                 Together with all appurtenances, fixtures, attachments thereto
16
                 and thereupon.
17
                 Subject to covenants, conditions, restrictions, reservations,
18
                 easements and agreements of record, if any.
19

20               Parcel Number 1507520, Vacant Land, described as W2 NE4 NE4,
21               in Stevens County, Washington
22
                 W1/2 NE1/4 NE1/4 Section 5, Township 28 North, Range 36 East,
23
                 W.M., Stevens County, Washington.
24
                 Together with all appurtenances, fixtures, attachments thereto
25
                 and thereupon.
26


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1
                 Subject to covenants, conditions, restrictions, reservations,
2
                 easements and agreements of record, if any.
3

4                Parcel Number 1507540, Vacant Land, described as NW4 NE4, ls
5                s 80', in Stevens County, Washington
6
                 NW1/4 NE1/4 less the South 80.00 feet Section 4, Township 28
7
                 North, Range 36 East, W.M., Stevens County, Washington.
8
                 Together with all appurtenances, fixtures, attachments thereto
9
                 and thereupon.
10
                 Subject to covenants, conditions, restrictions, reservations,
11
                 easements and agreements of record, if any.
12

13               Parcel Number 1507560, Vacant Land, described as W2 SE4 NE4,
14
                 in Stevens County, Washington
15
                 W1/2 SE1/4 NE1/4 Section 5, Township 28 North, Range 36 East,
16
                 W.M., Stevens County, Washington.
17
                 Together with all appurtenances, fixtures, attachments thereto
18
                 and thereupon.
19
                 Subject to covenants, conditions, restrictions, reservations,
20
                 easements and agreements of record, if any.
21

22
                 Parcel Number 1507580, Vacant Land, described as E2 SE4 NE4,
23
                 in Stevens County, Washington
24
                 E1/2 SE1/4 NE1/4 Section 5, Township 28 North, Range 36 East,
25
                 W.M., Stevens County, Washington.
26


     ORDER ~ 7
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1
                 Together with all appurtenances, fixtures, attachments thereto
2
                 and thereupon.
3
                 Subject to covenants, conditions, restrictions, reservations,
4
                 easements and agreements of record, if any.
5

6
                 Parcel Number 1507601, Vacant Land, described as S 80' NW4 NE4;
7
                 N2 SW4 NE4, ls s 80', in Stevens County, Washington
8
                 South 80.00 feet of the NW1/4 NE1/4; along with the N1/2 SW1/4
9
                 NE1/4 less the South 80.00 feet, Section 5, Township 28 North,
10
                 Range 36 East, W.M., Stevens County, Washington.
11
                 Together with all appurtenances, fixtures, attachments thereto
12
                 and thereupon.
13

14               Subject to covenants, conditions, restrictions, reservations,

15               easements and agreements of record, if any.

16               1388 B Pingston Creek Road, Kettle Falls, Washington

17
                 #KPC-S: The South half of Government Lot 1 in Section 4,
18
                 Township 36 North, Range 38 East, W.M., in Stevens County,
19
                 Washington
20
                 Together with all appurtenances, fixtures, attachments thereto
21

22               and thereupon.

23               Subject to covenants, conditions, restrictions, reservations,

24               easements and agreements of record, if any.

25               Assessor’s Parcel Number: 1902950.

26


     ORDER ~ 8
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1                5475 Peggy Way, Deer Park, Washington
2
                 Lot 1 of Short Plat No. SP 225-99, located in Section 1,
3
                 Township 27 North, Range 41 East, W.M., in Steven County,
4
                 Washington, according to Plat recorded July 20, 2000, under
5

6                Auditor’s File No.      20000006950.

7                Together with all appurtenances, fixtures, attachments thereto

8                and thereupon.

9                Subject to covenants, conditions, restrictions, reservations,
10               easements and agreements of record, if any.
11               Assessor’s Parcel Number: 5101230.
12

13
          VEHICLES/CONVEYANCES
14

15               2007 Mercedes Benz E550, Washington License Number 650 VRH,

16               VIN: WDBUF90X37X215437.

17
                 1999 Crestliner Inc 2050 Sporfish aluminum boat, Registration
18
                 No.    WN-6597RK, HIN: USN0R62418C999.
19

20               1999   EZ    Loader   21'    boat   trailer,     Washington    License    No.
21               2902PR, VIN: 1ZEAAMPG9XA021121.
22

23               1999 Johnson Jet Series outboard motor, Model No.                J150JPLEE.

24

25

26


     ORDER ~ 9
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1          CURRENCY
2
                  $2,087.00 U.S. Currency, seized on or about February 24, 2009.
3
                  $19,670.00 U.S. currency, seized on or about February 24, 2009.
4

5
           IT IS SO ORDERED.          The District Court Executive is directed to
6
     enter this Order and to provide copies to all counsel.
7
                               26th
           DATED this                      day of January 2010.
8
9                                       s/Edward F. Shea
                                         EDWARD F. SHEA
10                               United States District Judge
11
     Q:\Criminal\2009\15.1.prelim.forfeit.wpd
12

13

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     ORDER ~ 10
